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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT

NICOLE CHASE                                 :     N O.: 3:18-cv-00683 (VLB)
                                            :
v.                                           :
                                            :
TOWN OF CANTON, ET AL                        :     December 27, 2021

                      TOWN’S PROPOSED VERDICT FORM

FALSE ARREST

1.    Liability as to Adam Gompper and John Colangelo under 42 U.S.C. and
      common law

      Has the plaintiff proved by a preponderance of the evidence that her Fourth

Amendment rights were violated when she was arrested without probable cause?


      A. Adam Gompper

               Yes ____ No ____


      B. John Colangelo

               Yes ____ No ____

      If your answer to either of these questions – questions 1(a) or 1(B) is yes,

you should proceed to question 2. If your answer to both questions 1(A) and 1(B)

is no, you should go to question 6.
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2.    Liability as to the Town of Canton under Common Law1

      Has the plaintiff proven by a preponderance of the evidence that the Town

of Canton is liable to the plaintiff for common law false arrest without probable

cause?


                Yes ____ No ____

      Go to Questions 3.

3.    Compensatory Damages

      What amount of compensatory damages, if any, has Ms. Chase proven

that she has suffered as a result of the false arrest?


      A.     Adam Gompper (If you answered yes to Adam Gompper on
             Question # 1)

                 $ _________

      B.    John Colangelo (If you answered yes to John Colangelo on
            Questions # 1)

                 $ _________

      C.    Town of Canton (If you answered yes to Question # 2)2

                 $ _________

1 The Town maintains that it is immune from the tort of false arrest pursuant to §
52-557n(a)(2)(A). The Town’s inclusion of this element in the verdict form does
not constitute a waiver, and is provided as an alternative should the Town not be
permitted by this Court to assert this immunity to liability and damages.
2 See FN 1. Furthermore, the Town objects to the other parties’ verdict forms to

the extent that they seek to have the Towns’ liability for compensatory damages
equal that of Gompper and Colangelo. The Town is a separate party. The jury
must decide separately the Town’s liability. The extent the Town must indemnify
Colangelo and/or Gompper for their conduct, that must be decided by the Court
as fully briefed in the Town’s motion in limine.
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      Go to Question 4.

4.    Punitive Damages

      A.     Is an award of punitive damages warranted in connection with Ms.

             Chase’s claim that she was falsely arrested in violation of her

             rights under the Fourth Amendment of the United States

             Constitution?

                (1) Adam Gompper


                      Yes _____ No _____

                (2) John Colangelo

                      Yes _____ No _____

      If no, please go to 5. If yes, please award punitive damages for

the Constitutional Violation:


                (1) Adam Gompper: $ ____

                (2) John Colangelo $ ______

      B.     Is an award of punitive damages warranted in connection with Ms.

             Chase’s claim that defendants deliberately or recklessly interfered

             with her common law right to be free from false arrest?3


                 Yes _____ No _____




3 The Town maintains that it is immune from punitive damages. The Town’s
inclusion of this element in the verdict form does not constitute a waiver, and is
provided as an alternative should the Town not be permitted by this Court to
assert this immunity to punitive damages.
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5.    Nominal Damages

      If you found any of the defendants liable but did not find that Ms. Chase

was entitled to compensatory or punitive damages, has Ms. Chase proven

that she is entitled to nominal damages?


      A.    Adam Gompper (If you answered yes to Adam Gompper on
            Question # 1)


                  Yes _____ No _____

                  Amount: $ _________

      B.   John Colangelo (If you answered yes to John Colangelo on
           Questions # 1)


                  Yes _____ No _____

                  Amount: $ _________

      C.   Town of Canton (If you answered yes to Question # 2)4


                  Yes _____ No _____

                  Amount: $ _________




4 See FN 1. Furthermore, the Town objects to the other parties’ verdict forms to
the extent that they seek to have the Towns’ liability for compensatory damages
equal that of Gompper and Colangelo. The Town is a separate party. The jury
must decide separately the Town’s liability. The extent the Town must indemnify
Colangelo and/or Gompper for their conduct, that must be decided by the Court
as fully briefed in the Town’s motion in limine.
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MALICIOUS PROSECUTION

6.      Liability as to Adam Gompper and John Colangelo under 42 U.S.C. and
        common law 42 U.S.C. §1983

        Has the plaintiff proved by a preponderance of the evidence that her Fourth

Amendment rights were violated when she was prosecuted for making a false

statement without probable cause?


        A.      Adam Gompper

                  Yes ____ No ____


        B.      John Colangelo

                  Yes ____ No ____

        If your answer to either of these questions – questions 1(a) or 1(B) is yes,

you should proceed to question 2. If your answer to both questions 1(A) and 1(B)

is no, you should go to question 11.


7.      Liability as to the Town of Canton under Common Law5

        Has the plaintiff proven by a preponderance of the evidence that the Town

of Canton is liable to the plaintiff for common law malicious prosecution without

probable cause?


                  Yes ____ No ____

        Go to Questions 8.




5   See FN 1.
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8.      Compensatory Damages

        What amount of compensatory damages has Ms. Chase proven that

she has suffered as a result of the false arrest?


        A.      Adam Gompper (If you answered yes to Adam Gompper on
                Question # 6)

                    $ _________

        B.      John Colangelo (If you answered yes to John Colangelo on
                Questions # 6)

                    $ _________

        C.      Town of Canton (If you answered yes to Question # 7)6

                    $ _________

        Go to Question 9.

9.      Punitive Damages

        A.      Is an award of punitive damages warranted in connection with Ms.

                Chase’s claim that she was maliciously prosecuted in violation of

                her rights under the Fourth Amendment of the United States

                Constitution?

                   (1) Adam Gompper


                         Yes _____ No _____



6   See FN 2.
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                   (2) John Colangelo

                        Yes _____ No _____

        If no, please go to 10. If yes, please award punitive damages for

the Constitutional Violation:


                   (1) Adam Gompper: $ ____

                   (2) John Colangelo $ ______


        B.      Is an award of punitive damages warranted in connection with Ms.

                Chase’s claim that defendants deliberately or recklessly interfered

                with her common law right to be free from false arrest?7


                    Yes _____ No _____

10.     Nominal Damages

        If you found any of the defendants liable but did not find that Ms. Chase

was entitled to compensatory or punitive damages, has Ms. Chase proven

that she is entitled to nominal damages?


        A.      Adam Gompper (If you answered yes to Adam Gompper on
                Question # 6)


                      Yes _____ No _____

                      Amount: $ _________

        B.      John Colangelo (If you answered yes to John Colangelo on
                Questions # 6)


                      Yes _____ No _____
7   See FN 3.
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                      Amount: $ _________

        C.      Town of Canton (If you answered yes to Question # 7)8


                      Yes _____ No _____

                      Amount: $ _________

EQUAL PROTECTION

11.     Liability as to Adam Gompper and John Colangelo.

        Has the plaintiff proven by a preponderance of the evidence that her Right

to Equal Protection under the Fourteenth Amendment Was Violated by the

treatment that she received from the defendants after she made a complaint on

May 7, 2017 through her arrest on September 8, 2017? A. Adam Gompper

        A.      Adam Gompper

                   Yes ____ No ____


        B.      John Colangelo

                   Yes ____ No ____

        If your answer to either of these questions – questions 11(A) or 11(B) is

yes, you should proceed to question 12. If your answer to both questions 9(A)

and 9(B) is no, you should go to question 16.




8   See FN 4.
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12.   Compensatory Damages

      What amount of compensatory damage has Ms. Chase proven that she

has suffered as a result of the violation of her right of equal protection?


             Adam Gompper $ ______________

             John Colangelo        $ __________

13.   Punitive Damages

      Is an award of punitive damages warranted in connection with Ms. Chase’s

claim that her right to Equal Protection under the Fourteenth Amendment of the

Constitution of the United States was violated?


             (A)   John Colangelo:


                   Yes _____ No _____

             (B)   Adam Gompper


                   Yes _____ No _____


14.   If yes, please award punitive damages for the Constitutional Violation:


             (A)   John Colangelo $ _____________


             (B)   Adam Gompper $ _____________
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15.   Nominal Damages

      If you found Gompper or Colangelo liable but did not find that Ms.

Chase was entitled to compensatory or punitive damages, has Ms. Chase

proven that she is entitled to nominal damages?


      D.    Adam Gompper


                   Yes _____ No _____

                   Amount: $ _________

      E.    John Colangelo


                   Yes _____ No _____

                   Amount: $ _________

INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS


16.   Liability as to Adam Gompper and John Colangelo


      Has the plaintiff proved by a preponderance of the evidence that she was

subjected to intentional infliction of emotional distress by the defendants?

       A.   Adam Gompper

            Yes _____ No _____

      B.    John Colangelo

            Yes _____ No _____

      If your answer to either of these questions – questions 16(A) or 16(B) is

yes, you should proceed to question 17. If your answer to both questions 16(A)

and 16(B) is no, you should go to question __.
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17.   Compensatory Damages

      What amount of compensatory damages has Ms. Chase proven that she

has suffered as a result of the intentional infliction of emotional distress?

             Adam Gompper $____________

             John Colangelo $____________

18.   Punitive Damages

      Is an award of punitive damages warranted in connection with Ms. Chase’s

claim the defendants intentionally inflicted emotional distress on her?

             John Colangelo:

                   Yes _____ No _____

             Adam Gompper

                   Yes _____ No _____

19.   Nominal Damages

      If you found Gompper or Colangelo liable but did not find that Ms.

Chase was entitled to compensatory or punitive damages, has Ms. Chase

proven that she is entitled to nominal damages?


      F.     Adam Gompper


                   Yes _____ No _____

                   Amount: $ _________

      G.    John Colangelo


                   Yes _____ No _____

                   Amount: $ _________
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DOUBLE RECOVERY

20.       Were the compensatory damages awarded in Questions 3, 8, 12 and/or 17

in any way duplicative of the compensatory damages awarded on any of the

other claims? If so, please fill out this chart:


      #         NO         YES IN            YES IN PART ($     DUPLICATIVE OF
                           WHOLE                  PART)          WHAT OTHER
                                                               AWARD (Identify #)
      3                                      $
      8                                      $
  12             `                           $
  17                                         $


21.       Were the punitive damages awarded in Questions 4, 9, 13 and/or 17 in any

way duplicative of the compensatory damages awarded on any of the other

claims? If so, please fill out this chart:


      #         NO         YES IN            YES IN PART ($     DUPLICATIVE OF
                           WHOLE                  PART)          WHAT OTHER
                                                               AWARD (Identify #)
      4                                      $
      9                                      $
  13             `                           $
  18                                         $
